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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :    CRIMINAL NO.
                                                   :
               v.                                  :    MAGISTRATE NO. 21-MJ-151
                                                   :
 KEVIN STRONG                                      :    VIOLATIONS:
                                                   :    18 U.S.C. § 1752(a)(1)
                     Defendant.                    :    (Entering and Remaining in a Restricted
                                                   :    Building or Grounds)
                                                   :    18 U.S.C. § 1752(a)(2)
                                                   :    (Disorderly and Disruptive Conduct in a
                                                   :    Restricted Building or Grounds)
                                                   :    40 U.S.C. § 5104(e)(2)(D)
                                                   :    (Disorderly Conduct in
                                                   :    a Capitol Building)
                                                   :    40 U.S.C. § 5104(e)(2)(G)
                                                   :    (Parading, Demonstrating, or Picketing in
                                                   :    a Capitol Building)


                                         I NFORMATION

         The United States Attorney charges that at all relevant times:

                                           COUNT ONE

         On or about January 6, 2021, in the District of Columbia, KEVIN STRONG, did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-elect were temporarily visiting, without lawful authority to

do so.

         (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
         United States Code, Section 1752(a)(1))

                                          COUNT TWO

         On or about January 6, 2021, in the District of Columbia, KEVIN STRONG, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
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within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, KEVIN STRONG, willfully and

knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House

of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.


       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, KEVIN STRONG, willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                     Respectfully submitted,

                                                     MICHAEL R. SHERWIN
                                                     Acting United States Attorney
                                                     New York Bar No. 4444188


                                              By: ______________________
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